Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22   Entered 08/15/22 16:45:41   Page 1 of 8




                               EXHIBIT 57




                                                                        Appx. 07118
Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                            Entered 08/15/22 16:45:41             Page 2 of 8

Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                       Entered 01/05/21 15:34:33         Page 1 of 7
                                                                                       Docket #1662 Date Filed: 01/05/2021




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                      §             Chapter 11
                                                            §
HIGHLAND CAPITAL MANAGEMENT,                                §             Case No. 19-34054-SGJ
LP,                                                         §
              Debtor.                                       §

         OBJECTION OF DALLAS COUNTY, CITY OF ALLEN, ALLEN ISD,
     CITY OF RICHARDSON AND KAUFMAN COUNTY TO CONFIRMATION OF
             THE FIFTH AMENDED PLAN OF REORGANIZATION OF
                   HIGHLAND CAPITAL MANAGEMENT, L.P.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Come now Dallas County, City of Allen, Allen ISD, City of Richardson and Kaufman

County (collectively, the “Tax Authorities”), creditors and parties-in-interest, and file this, their

objection to confirmation of the Fifth Amended Plan of Reorganization of Highland Capital

Management, L.P. (the “Plan”) and would respectfully show the Court as follows:

                                                        Background

         1.       Dallas County, City of Allen, Allen ISD and the City of Richardson, duly

organized governmental units of the State of Texas, are the holders of secured claims against the

Debtor for unpaid ad valorem business personal property taxes for tax year 2019 in the aggregate

amount of $65,181.49.

         2.       The Tax Authorities are the holders of administrative expense claims against the


Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization                     Page 1

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Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                          Entered 08/15/22 16:45:41   Page 3 of 8

 Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                        Entered 01/05/21 15:34:33   Page 2 of 7




  Debtor for year 2020 and estimated 2021 ad valorem real and business personal property taxes.

           3.       The prepetition claims and the administrative expense claims are secured by

   unavoidable, first priority, perfected liens on all property of the Debtor’s estate pursuant to

   sections 32.01 and 32.05 of the Texas Property Tax Code and 11 U.S.C. Section 362(b)(18). In

   re Winn’s Stores, Inc., 177 B.R. 253 (Bankr. W.D. Tex. 1995); Central Appraisal District of

   Taylor County v. Dixie-Rose Jewels, Inc., 894 S.W.2d 841 (Tex. App.-Eastland 1995). These

   liens are in solido and attach on January 1 of each year to all business personal property of the

   property owner and to property subsequently acquired. In re Universal Seismic Associates, Inc.,

   288 F.3d 205 (5th Cir. 2002); City of Dallas v. Cornerstone Bank, N.A., 879 S.W.2d 264 (Tex.

   App.-Dallas 1994).

           4.       Texas Tax Code Section 32.01 provides:

                    (a)      On January 1 of each year, a tax lien attaches to property to secure the
                             payment of all taxes, penalties, and interest ultimately imposed for the
                             year on the property, whether or not the taxes are imposed in the year the
                             lien attaches. The lien exists in favor of each taxing unit having power to
                             tax the property.
                    (b)      A tax lien on inventory, furniture, equipment, or other personal property is
                             a lien in solido and attaches to all inventory, furniture, equipment, and
                             other personal property that the property owner owns on January 1 of the
                             year the lien attaches or that the property owner subsequently acquires.
                                                            …

                    (d)The lien under this section is perfected on attachment and … perfection
                       requires no further action by the taxing unit.
  Tex. Tax Code § 32.01. Texas Tax Code Section 32.05(b) provides:

                    (b)      . . . a tax lien provided by this chapter takes priority over the claim of any
                             creditor of a person whose property is encumbered by the lien and over the
                             claim of any holder of a lien on property encumbered by the tax lien,
                             whether or not the debt or lien existed before attachment of the tax lien.

  Tex. Tax Code § 32.05(b).

                                            Objection to Confirmation


  Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization             Page 2



                                                                                                Appx. 07120
Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                          Entered 08/15/22 16:45:41   Page 4 of 8

 Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                        Entered 01/05/21 15:34:33   Page 3 of 7




            The Tax Authorities object to confirmation of the plan for numerous reasons.

           5.       The Tax Authorities object to confirmation of the Plan because it defines the

  “Disputed Claims Reserve Amount” as the Cash that would have otherwise been distributed to a

  Holder of a Disputed Claim at the time any distributions . . . are made to the Holders of Allowed

  Claims.” (Plan, Art. I. Sec. B. 50 at 7). The Tax Authorities object to the failure to pay all

  postpetition and posteffective date interest that they are entitled to receive on their prepetition

  claims pursuant to 11 U.S.C. Sections 506(b), 511 and 1129 as well as all penalties and interest

  that may accrue on their administrative expense claims, which are fully collectible, if the

  administrative claims are not paid before the state law delinquency date.

           6.       The Tax Authorities object to confirmation of the Plan because it fails to provide

  for payment of postpetition ad valorem property taxes in the ordinary course of business prior to

  the state law delinquency date.

           7.       The Tax Authorities object to confirmation of the Plan because it fails to provide

  that they shall receive all penalties and interest that accrue on postpetition ad valorem property

  taxes if the taxes are not paid prior to the state law delinquency date.

           8.       The Tax Authorities object to confirmation of the Plan because it violates the

  provisions of 11 U.S.C. Section 503(b)(1)(D) which very specifically states that a governmental

  unit is not required to file a request for payment of an administrative expense as a condition of

  allowance.

           9.       The Tax Authorities object to confirmation of the Plan because it fails to

  specifically provide for the retention of the liens that secure postpetition ad valorem property

  taxes plus all penalties and interest that may accrue.




  Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization             Page 3



                                                                                                Appx. 07121
Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                          Entered 08/15/22 16:45:41   Page 5 of 8

 Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                        Entered 01/05/21 15:34:33   Page 4 of 7




           10.      The Tax Authorities object to confirmation of the plan because it fails to provide

  for the retention of the liens that secure the prepetition claims until they receive payment in full

  of their claims in violation of 11 U.S.C. Section 1129.

           11.      The Tax Authorities object to confirmation of the Plan because it provides that all

  Reorganized Debtor Assets1 will vest in the Reorganized Debtor free and clear of all liens except

  those that are specifically preserved in the plan. (Plan, Art. IV. Sec. C.5 at 33.)

           12.      The Tax Authorities object to confirmation of the Plan because it fails to

  specifically provide for the payment of postpetition preeffective date interest at the state statutory

  rate of 1% per month, which the Tax Authorities are entitled to pursuant to 11 U.S.C. Sections

  506(b) and 511.

           13.      The Tax Authorities object to confirmation of the Plan because it fails to

  specifically provide for the payment of posteffective date interest at the state statutory rate of

  12% per annum, which the Tax Authorities are entitled to pursuant to 11 U.S.C. Sections 511

  and 1129.

           14.      The Tax Authorities object to confirmation of the Plan because it provides that

  except as otherwise provided in the Plan the Holders of Claims shall not be entitled to interest in

  violation of 11 U.S.C. Sections 506(b), 511 and 1129. (Plan, Art. VI, Sec. A. at 39.) The Tax

  Authorities also object to this provision because it could result in the nonpayment of penalties

  and interest that accrues on postpetition taxes, which are fully secured and collectible. See U.S.

  v. Noland, 571 U.S. 535 (1996).

           15.      The Tax Authorities object to confirmation because the Plan provides that

  distributions to disputed claims that become allowed claims shall be made in the amount that the


  1
      All capitalized terms that are not defined herein shall have the same meaning as provided in
  the Plan.
  Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization             Page 4



                                                                                                Appx. 07122
Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                          Entered 08/15/22 16:45:41   Page 6 of 8

 Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                        Entered 01/05/21 15:34:33   Page 5 of 7




  holder would have received if it been an allowed claim on the Effective Date. (Plan, Art. VI. Sec.

  E. at 40.) This provision violates 11 U.S.C. Sections 506(b), 511 and 1129. The Tax Authorities

  also object to this provision because it could result in the nonpayment of penalties and interest

  that accrues on postpetition taxes, which are fully secured and collectible. See U.S. v. Noland,

  571 U.S. 535 (1996).

           16.      The Tax Authorities object to confirmation of the Plan because it does not provide

  that failure to timely pay postpetition taxes is an event of default under the Plan and because the

  Plan does not provide a remedy in the event of such a default. The Plan should be amended to

  provide that in the event of default the Tax Authorities shall send written notice of the default to

  counsel for the Debtor/Reorganized Debtor via electronic mail, the Debtor/Reorganized Debtor

  will have 10 days from the date of the notice to cure its default and if the default is not cured, the

  Tax Authorities shall be entitled to pursue all state law remedies available to them without the

  need for recourse to the Bankruptcy Court. The Plan should further provide that the Tax

  Authorities are only required to give the Debtor/Reorganized Debtor two notices of default and if

  the Debtor defaults a third time, the Tax Authorities will be entitled to pursue collection of all

  amounts owed pursuant to state law outside the Bankruptcy Court without further notice to the

  Debtor. An event of default shall include the Debtor’s failure to make a payment to one or both

  of the Tax Authorities under the plan and the Debtor’s failure to pay post-petition ad valorem

  taxes prior to the state law delinquency date.ih38SW!615.00

           17.      The Tax Authorities object to the definition of “Other Unsecured Claim,” which

  the Plan defines as “any Secured Claim other than the Jeffries Secured Claim and the Frontier

  Secured Claim.” (Plan Art. I, Sec. B. 88 at 17.) Defining a secured claim as an “Other




  Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization             Page 5



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Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                          Entered 08/15/22 16:45:41    Page 7 of 8

 Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                        Entered 01/05/21 15:34:33   Page 6 of 7




  Unsecured Claim” is not sufficient to reclassify a secured claim or to avoid a creditor’s lien or

  security interest.

           Based on the foregoing, the Tax Authorities request that the Court enter an order denying

  confirmation of the Debtor’s plan.

           WHEREFORE, PREMISES CONSIDERED, the Tax Authorities request that the Court

  enter an order denying confirmation of the Debtor’s Fifth Amended Plan of Reorganization.

           Dated: January 5, 2021.

                                                                  Respectfully submitted,

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                                                         By:      /s/Laurie A. Spindler_______________
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                                                                  Laurie.Spindler@lgbs.com

                                                                  ATTORNEYS FOR DALLAS COUNTY,
                                                                  CITY OF ALLEN, ALLEN ISD, CITY OF
                                                                  RICHARDSON AND KAUFMAN
                                                                  COUNTY




  Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization              Page 6



                                                                                                Appx. 07124
Case 19-34054-sgj11 Doc 3445-57 Filed 08/15/22                           Entered 08/15/22 16:45:41   Page 8 of 8

 Case 19-34054-sgj11 Doc 1662 Filed 01/05/21                        Entered 01/05/21 15:34:33   Page 7 of 7




                                         CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on January 5, 2021, a true and correct copy of the
  foregoing was served electronically through the Court’s electronic case filing system or via
  electronic mail upon: Jeffrey N. Pomerantz, email: jpomerantz@pszjlaw.com ; Ira D. Kharasch,
  email: jkharasch@pszjlaw.com; Gregory V. Demo, email: gdemopszjlaw.com; Melissa S.
  Hayward, email:           mhayward@haywardfirm.com; Zachery Z. Annable, email:
  zannable@haywardfirm.com; Matthew A. Clemente, email: mclemente@sidley.com; Alyssa
  Russell, email:         alyssa.russell@sidley.com and Lisa L . Lambert, email:
  Lisa.L.Lambert@usdoj.gov.

                                                                  /s/Laurie A. Spindler__________________
                                                                  Laurie A. Spindler




  Tax Authorities’ Objection to Confirmation of Fifth Amended Plan of Reorganization             Page 7



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